             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                              1:17 CR 46-2

UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff                      )     MEMORANDUM AND
                                             )     RECOMMENDATION
       v.                                    )
                                             )
JORDAN HEATH OOCUMMA,                        )
                                             )
          Defendant                          )
____________________________                 )


       THIS MATTER is before the Court upon Defendant’s Motion to Suppress

Evidence (# 37). The Government filed a Response to Defendant’s Motion to

Suppress (# 38). The undersigned conducted a hearing and heard evidence and

arguments from the Government and Defendant. Having carefully considered the

evidence, briefs, and arguments of counsel, the Court enters the following findings,

conclusions, and recommendation.

                          FINDINGS AND CONCLUSIONS

I.     Procedural Background

       Defendant is charged with various controlled substance offenses in a six-

count, multi-party bill of indictment (# 1). There are charges presented against

Defendant in Counts One, Two and Five. Count One alleges during the period from

August 2016, until September 2016, Defendant conspired with others to distribute


     Case 1:17-cr-00046-MR-WCM     Document 113     Filed 12/11/17   Page 1 of 20
and possess with intent to distribute a quantity of methamphetamine, a Schedule II

controlled substance, in violation of 21 U.S.C § 841(b)(1)(A) and 21 U.S.C. § 846.

Count Two alleges on August 26, 2016, Defendant knowingly and intentionally

distributed methamphetamine, a Schedule II controlled substance, in violation of 21

U.S.C. § 841(a)(1). Finally, Count Five alleges on September 13, 2016, in Jackson

County, Defendant knowingly and intentionally possessed, with intent to distribute

a quantity of methamphetamine, a Schedule II controlled substance, in violation of

21 U.S.C. § 841(a)(1).

        On July 17, 2017, Defendant filed his Motion to Suppress (# 37). In the

Motion, Defendant moves to suppress evidence obtained by the Government from a

stop and subsequent search of a vehicle Defendant was operating on September 13,

2016 (# 37). As a result, it appears Defendant’s Motion is directed at Count Five of

the Bill of Indictment. On July 24, 2017, the Government filed its Response to

Defendant’s Motion to Suppress (# 38). On August 1, 2017, the Grand Jury issued

a superseding Bill of Indictment (# 39) which added additional defendants, but did

not change the charges against Defendant (# 39). On August 22, 2017, the Court

held a hearing on the Motion (# 37).

II.     Factual Background

        A.    Michael Holcombe




                                         2
      Case 1:17-cr-00046-MR-WCM    Document 113     Filed 12/11/17   Page 2 of 20
      At the hearing, the Government called as a witness Michael Holcombe, who

is a trooper with the North Carolina Highway Patrol. (T. p. 6) Trooper Holcombe

has twenty-four years of law enforcement experience (# 6). Trooper Holcombe

spent a year and a half working with the Canton Police Department, three years with

the Asheville Police Department, and twenty years with the North Carolina Highway

Patrol. (T. p. 6)    His duties in each of these positions included traffic law

enforcement, investigation of collisions between vehicles, and operating a radar. (T.

p. 7) Generally, his duty in each venue of employment was to enforce the motor

vehicle safety laws for the State of North Carolina. (T. pp. 7–8, 13)

      Trooper Holcombe testified to his experience in speed detection, including

making a determination of a vehicle’s speed from observation and by use of radar.

(T. pp. 9–10) From his training and experience, including driver’s education,

Holcombe has developed the opinion that a safe traveling distance when following

behind another vehicle is one car length for every ten miles per hour of speed. (T.

pp. 10–12)

      In the summer of 2016, Trooper Holcombe was assigned to the Criminal

Interdiction Unit of the North Carolina Highway Patrol. (T. pp. 8–9) The Criminal

Interdiction Unit is a division of the Special Operations within the North Carolina

Highway Patrol (# 14). The mission of the unit is to aggressively enforce the motor

vehicle statutes, apprehend wanted persons, recover stolen vehicles, and



                                          3
   Case 1:17-cr-00046-MR-WCM       Document 113      Filed 12/11/17     Page 3 of 20
aggressively enforce the controlled substance law of North Carolina. (T. p. 14)

Trooper Holcombe’s unit covered the area of North Carolina from Statesville, North

Carolina, to the western border. (T. p. 15) The unit consisted of five troopers and a

sergeant. (T. p. 15) The unit works in cooperation with other law enforcement

agencies such as the DEA, SBI and other local, state and federal agencies. (T. pp.

15–16)

      On September 13, 2016, at the direction of Sgt. Ray Blanton, the unit leader,

Trooper Holcombe went to a meeting at the Holiday Inn located on U.S. Highway

74 in Jackson County, North Carolina. (T. pp. 16–17, 50–51) The meeting was in

the evening, but was before dark. (T. p. 17) At the meeting was Agent Stites, who

the Court recognizes to be Special Agent Billy Stites, a law enforcement officer for

the Bureau of Indian Affairs. Agent Stites advised the troopers of persons who were

the subject of a federal drug investigation. (T. p. 17) Stites gave the troopers a

description of a black Toyota Camry vehicle that had been tracked to Atlanta,

Georgia, that was now returning and suspected of being involved in criminal activity.

(T. pp. 17–18, 59) Agent Stites told the troopers that Stites had obtained a tracking

warrant and had placed a tracking device on the Toyota Camry. (T. p. 85) Stites

further told the troopers if they were able to locate the vehicle and establish

reasonable suspicion to stop the vehicle, it might possibly be transporting narcotics.

(T. p. 18) Stites did not tell the troopers to stop the vehicle without an independent



                                          4
   Case 1:17-cr-00046-MR-WCM        Document 113     Filed 12/11/17   Page 4 of 20
reason, and Trooper Holcombe testified that he would not have done so. (T. p. 18)

It was discussed that if the vehicle were found, then the troopers were to establish

their own reasonable suspicion, if possible, to stop the vehicle. (T. p. 19)

         After the meeting, Trooper Holcombe traveled in his patrol vehicle to a fire

department located on U.S. Highway 74 in Jackson County, North Carolina, which

is located in the Whittier community. (T. pp. 19–20, 50) Trooper Holcombe stopped

his patrol vehicle in the parking lot of the fire department and listened to his law

enforcement communications radio. (T. pp. 19–20, 50) He could hear Agent Stites

communicating on the radio concerning the location of the black Toyota Camry. (T.

p. 20)

         U.S. Highway 74 in that area is a four-lane, divided highway. (T. p. 20) There

are two lanes of eastbound travel and two lanes of westbound travel. (T. p. 20) The

highway is divided by a concrete median in some locations and a grass median in

other locations. (T. p. 20) There is an emergency strip on the right side of the road

which is two to three feet wide. (T. p. 20) Just over the white fog line there is a

rumble strip that has been cut into the emergency strip. (T. pp. 20–21) The speed

limit on U.S. Highway 74 at that point is 55 miles per hour. (T. p. 21)

         While Trooper Holcombe was parked, he saw a black Toyota Camry travel

westbound. (T. pp. 21–22) Holcombe then drove his patrol vehicle on to U.S.

Highway 74, traveling west in order to observe the black Toyota Camry. (T. p. 22)



                                            5
   Case 1:17-cr-00046-MR-WCM         Document 113     Filed 12/11/17   Page 5 of 20
Trooper Holcombe made a call on his radio stating to the other officers that he

thought he had located the black Toyota Camry vehicle. (T. pp. 49–50)

      While following the black Toyota Camry vehicle, Trooper Holcombe made a

visual observation that the subject vehicle was traveling at approximately 60 miles

per hour. (T. p. 23) Trooper Holcombe had radar in his vehicle but did not use it to

clock the speed of the vehicle. (T. p. 48) As he traveled behind the vehicle, Trooper

Holcombe observed the black Toyota Camry vehicle run across the white fog line

and further saw both right side tires of the vehicle cross the fog line and travel into

the emergency strip. (T. pp. 75–76) This occurred in a left-hand curve. (T. p. 23)

Trooper Holcombe then observed the black Toyota vehicle approach a white pickup

truck that was also traveling in the westbound lane. (T. p. 24) At one point, the

Toyota Camry vehicle was traveling less than one car length behind the white pickup

truck. (T. pp. 24, 57) Based upon Trooper Holcombe’s training and experience, a

vehicle traveling at 60 miles per hour should be traveling six car lengths behind the

vehicle which it is following—one car length for every ten miles per hour of speed—

in order to be traveling at a safe distance. (T. pp. 24–25, 72, 76)

      After seeing the black Toyota Camry vehicle being operated in this fashion,

Trooper Holcombe had concern that the operator might be under the influence of

alcohol or falling asleep at the wheel. (T. pp. 25–26) Based upon what he had seen,

Holcombe made a decision to stop the Toyota Camry vehicle. (T. pp. 25–26) The



                                           6
   Case 1:17-cr-00046-MR-WCM        Document 113      Filed 12/11/17   Page 6 of 20
Toyota Camry vehicle then exited U.S. Highway 74 and turned right onto U.S.

Highway 441 traveling in the direction of Cherokee, North Carolina. (T. p. 26) Once

the vehicle exited the off-ramp and traveled onto U.S. Highway 441, Trooper

Holcombe activated his patrol vehicle blue light. (T. p. 26) The vehicle then made

a right turn into the parking lot of the Quality Plus gas station and stopped. (T. pp.

26–27)

      Trooper Holcombe testified that if he had not observed the movements and

violations of traffic laws by the Toyota Camry vehicle, then he would have continued

to follow the vehicle into Cherokee. (T. pp. 26, 74) If Holcombe had not observed

any violation en route to Cherokee, then he would have returned to normal patrol.

(T. pp. 26, 74)

      After the Toyota Camry vehicle stopped in the parking lot of the Quality Plus

gas station, Trooper Holcombe stopped his vehicle behind the Toyota Camry. (T.

pp. 27–28) Holcombe then exited his patrol vehicle, and began to speak with

Defendant, who was the operator of the Toyota Camry vehicle. (T. pp. 27–28) When

Holcombe began speaking with Defendant, he immediately detected the odor of

marijuana emanating from the interior of the Toyota Camry vehicle. (T. p. 28)

Holcombe then searched the Toyota Camry vehicle and found an orange Nike shoe

box in the back seat of the vehicle which contained 262 grams of crystal




                                          7
   Case 1:17-cr-00046-MR-WCM        Document 113     Filed 12/11/17   Page 7 of 20
methamphetamine and 19 grams of marijuana. (T. pp. 29–30) Trooper Holcombe

also found a marijuana cigarette underneath the driver’s seat. (T. p. 30)

      Trooper Holcombe testified that on September 13, 2016, he had a camera

system in his patrol vehicle that recorded at all times when the vehicle was being

operated. (T. p. 29) When the blue lights on the patrol vehicle are activated the

camera automatically backs up to the last two minutes of video that was captured

and places that video on a DVD drive in the camera. (T. pp. 29, 49) The DVD

containing these events was introduced into evidence by the Government. (T. pp.

30–35) (Gov. Ex. 1) The video was played in open court and has been reviewed by

the undersigned on multiple occasions. (T. pp. 30–35) Trooper Holcombe testified

that the quality of the video is not the best and is a two dimensional image of what

occurred. (T. pp. 42–43, 76) Further, the video shows that it was completely dark

when Trooper Holcombe began to follow the Toyota Camry vehicle. (Gov. Ex. 1)

      The Government introduced still photographs captured from the DVD from

the patrol vehicle’s video camera system (T. pp. 31–33) (Gov. Ex. 2-30). On the

photographs a red circle, or arrow, has been superimposed to indicate the location of

the black Toyota Camry vehicle (T. p. 33). A time marker has been placed in the

upper right-hand corner of each photograph (T. p. 32).

      Trooper Holcombe testified that at one minute and nine seconds into the

video, it shows the Toyota vehicle following the white pickup truck too closely (T.



                                          8
   Case 1:17-cr-00046-MR-WCM       Document 113      Filed 12/11/17   Page 8 of 20
pp. 38–39). Trooper Holcombe further testified he was following the Toyota Camry

vehicle at approximately two hundred yards away and was traveling at a speed of 60

miles per hours. (T. pp. 39, 50, 58) Trooper Holcombe was trained that in order to

determine feet traveled per second, one multiplies the miles per hour by 1.467 and

the total of that calculation will be the feet per second traveled. (T. pp. 40–41, 71–

72) Thus, at a speed of 60 miles per hour a vehicle is traveling 87 feet per second.

The average length of a car is twelve to fifteen feet. (T. p. 61)

      Trooper Holcombe issued a warning ticket to Defendant. (T. pp. 44–45) (Gov.

Ex. 31) On the ticket Trooper Holcombe checked the blocks for (1) following too

closely and (2) unsafe movement as being the offenses which merited the warning

ticket. (T. pp. 44–45) Trooper Holcombe indicated the time of the stop as 10:00

p.m. (T. p. 45) (Gov. Ex. 31) Trooper Holcombe also issued a citation presenting

criminal charges against Defendant for feloniously possessing more than 200 grams

of methamphetamine and feloniously transporting methamphetamine. (Gov. Ex. 32)

He further issued Defendant a citation for possessing over one-half ounce of

marijuana and possession of drug paraphernalia. (T. pp. 45–56) (Gov. Ex. 33) On

those two citations Trooper Holcombe indicated the speed of the Toyota Camry

vehicle was “A-60” or approximately 60 miles per hour. (T. pp. 45–56, 79–80) (Gov.

Ex. 32, 33)




                                           9
   Case 1:17-cr-00046-MR-WCM        Document 113      Filed 12/11/17   Page 9 of 20
      On cross-examination Trooper Holcombe testified the video (Gov. Ex. 1) does

not clearly show Defendant operating the Toyota Camry across the fog line of the

highway but that he did in fact observe and see such an event occur. (T. pp. 48, 55,

75) He also testified the video does not show the Toyota Camry vehicle being

operated less than one car length behind the white pickup truck. (T. pp. 55–57, 75–

76) Trooper Holcombe testified that he did observe and see the Toyota Camry

vehicle travel less than on car length the white pickup truck. (T. p. 57)

      Trooper Holcombe identified North Carolina General Statute § 20-152, which

reads as follows:

            (a) The driver of a motor vehicle shall not follow another vehicle
      more closely than is reasonable and prudent, having due regard for the
      speed of such vehicles and the traffic upon and the condition of the
      highway.

            (b) The driver of any motor vehicle traveling upon a highway
      outside of a business or residential district and following another motor
      vehicle shall, whenever conditions permit, leave sufficient space so that
      an overtaking vehicle may enter and occupy such space without danger,
      except that this shall not prevent a motor vehicle from overtaking and
      passing another motor vehicle. This provision shall not apply to funeral
      processions. (T. pp. 62–64, Def. Ex. 1)

      Trooper Holcombe testified that on September 13, 2016, the weather was clear

and dry, the road was in good condition, the road was a four-lane divided highway,

it was not a narrow two-lane road, and it had a three foot area of asphalt to the right

of the fog line, along with a rumble strip. The Toyota Camry vehicle operated by

Defendant was fairly new, was in good condition, and was being operated five miles

                                          10
  Case 1:17-cr-00046-MR-WCM        Document 113      Filed 12/11/17   Page 10 of 20
per hour in excess of the 55 mile per hour posted speed limit. (T. pp. 63–69) Trooper

Holcombe stated all of these factors could be considered in determining whether or

not the Toyota Camry vehicle was following the white pickup truck more closely

than was reasonable and prudent. (T. pp. 63–69) The standard of one car length per

ten miles per hour of speed that was applied by Trooper Holcombe is not referenced

in North Carolina General Statute § 20-152. (T. pp. 73–74) Based upon his training

and experience Trooper Holcombe testified that he could determine a distance of

less than fifteen feet from 600 to 800 feet away from the object of his examination.

(T. pp. 87–88)

      B.     Evidence of Defendant

      1.     Yvonne Cobourn.

      Yvonne Cobourn (Cobourn) has been a private investigator for four years. (T.

pp. 90–103) Formally, Cobourn was a law enforcement officer employed by the

Asheville Police Department for eighteen years. (T. p. 99) Cobourn was initially a

patrol officer who rose through the ranks to become a detective with the Asheville

Police Department. (T. p. 99) The name of her private detective agency is AEGIS

Investigations. (T. p. 90) Cobourn was retained by Defendant to travel to the

location of U.S. Highway 74 where Defendant’s vehicle was followed by Trooper

Holcombe. She was instructed to take measurements of the roadway. (T. p. 91)




                                         11
  Case 1:17-cr-00046-MR-WCM       Document 113      Filed 12/11/17   Page 11 of 20
      Ms. Cobourn testified that she measured the area that she called the “rumble

strip”—the area on the right side of the fog line up to the grass shoulder—as being

3ˈ in width. (T. p. 91) The right-hand lane heading westbound was 12ˈ 1ˈˈ in width

and the left lane heading westbound was 12ˈ 9ˈˈ in width. (T. pp. 92–98) The dash

lines located in the center line of the two westbound lanes measured 12ˈ 2ˈˈ in length

and the space between the dash line measured 31ˈ in length. (T. p. 93) The

measurement of both lanes together was 25ˈ in width. (T. p. 93) Diagrams of the

measurements were introduced into evidence as Exhibits 2 and 3. (T. p. 95) (Def.

Ex. 1, 2)

      On cross-examination Cobourn testified that Trooper Holcombe was more

experienced than she in the field of motor vehicle enforcement. (T. p. 100)

      Defendant contends in his Motion to Suppress (# 37) that the stop of Toyota

Camry vehicle violated the Fourth Amendment and any evidence seized during the

search of his vehicle on September 13, 2016, was seized in violation of the Fourth

Amendment and should be excluded from evidence.

      III.   Discussion

             A.    Motion to Suppress: The Legal Standard

      The Fourth Amendment of the United States Constitution provides:

                                     Amendment IV.

      The right of the people to be secure in their persons, houses, papers, and
      effects, against unreasonable searches and seizures, shall not be

                                         12
  Case 1:17-cr-00046-MR-WCM        Document 113     Filed 12/11/17    Page 12 of 20
      violated, and no warrants shall issue but upon probable cause,
      supported by oath or affirmation and particularly describing the place
      to be searched and the persons or things to be seized.


      When a defendant moves to suppress evidence seized during an investigatory

stop, the United States Supreme Court has held that the

      Fourth Amendment protects citizens from “unreasonable searches and
      seizures” by the government, and its protections extend to brief
      investigatory stop . . . that fall short of traditional arrest.

United States v. Arvizu, 534 U.S. 266, 273 (2002) (citing Terry v. Ohio, 392 U.S. 1,

9 (1968)). In those situations, the Court looks to whether the actions of law

enforcement are supported by a reasonable articulable suspicion that criminal

activity “may be afoot.” United States v. Sokolow, 490 U.S. 1, 7 (1989) (quoting

Terry, 392 U.S. at 30).

      To determine whether an investigatory stop meets the requirements of the

Fourth Amendment, the Court must “look at the “totality of the circumstances” to

see whether the detaining officer had a “particularized and objective basis” for

suspecting legal wrongdoing.” Arvizu, 534 U.S. at 273 (quoting United States v.

Cortez, 449 U.S. 411, 417–18 (2002)). The Court’s inquiry is objective rather than

subjective, in that the Fourth Amendment inquiry “turns on an objective assessment

of the officer’s actions in light of the facts and circumstances confronting him at the

time,” not what an officer thought or anticipated at the time. Maryland v. Macon,




                                          13
  Case 1:17-cr-00046-MR-WCM        Document 113      Filed 12/11/17   Page 13 of 20
472 U.S. 463, 470–71 (1985) (quoting Scott v. United States, 436 U.S. 128, 136

(1978)).

       In United States v. Digiovanni, 650 F.3d 498 (4th Cir. 2011), the Fourth

Circuit Court of Appeals set forth the standard to be applied in determining the

constitutionality of a traffic stop:

       Because a traffic stop is more analogous to an investigative detention
       than a custodial arrest, we treat a traffic stop, whether based on probable
       cause or reasonable suspicion, under the standard set forth in Terry v.
       Ohio, 392 U.S. 1, 88 S. Ct. 1868, 20 L. Ed. 2d 889 (1968).

       Pursuant to Terry, we analyze the propriety of a traffic stop on two
       fronts. First, we analyze whether the police officer’s action was
       justified at its inception. Second, we analyze whether the police
       officer’s subsequent actions were reasonably related in scope to the
       circumstances that justified the stop.

Digiovanni, 650 F.3d at 506 (internal citations omitted) (abrogated in part on other

grounds by Rodriguez v. United States, ____ U.S. ____, 135 S. Ct. 1609 (2015));

see United States v. Hill, 852 F.3d 377, 381–82 (4th Cir. 2017).

       As the Fourth Circuit explained in United States v. Hassan-el, 5 F.3d 726, 730

(4th Cir. 1993):

       Under the objective test, if an officer has probable cause or a reasonable
       suspicion to stop a vehicle, there is no intrusion upon the Fourth
       Amendment. That is so regardless of the fact that the officer would not
       have made the stop but for some hunch or inarticulable suspicion of
       other criminal activity:

       When an officer observes a traffic offense—however minor—he has
       probable cause to stop the driver of the vehicle. . . . This otherwise valid
       stop does not become unreasonable merely because the officer has

                                            14
  Case 1:17-cr-00046-MR-WCM            Document 113    Filed 12/11/17   Page 14 of 20
      intuitive suspicions that the occupants of the car are engaged in some
      sort of criminal activity. . . . That stop remains valid even if the officer
      would have ignored the traffic violation but for his other suspicions.
      Cummins, 920 F.2d at 500–01; see also Trigg, 878 F.2d at 1041 (“so
      long as the police are doing no more than they are legally permitted and
      objectively authorized to do, an arrest is constitutional.” (citing Causey,
      834 F.2d at 1184)). Such an approach minimizes inquiry into a police
      officer’s state of mind.

      We adopt the objective test and likewise hold that when an officer
      observes a traffic offense or other unlawful conduct, he or she is
      justified in stopping the vehicle under the Fourth Amendment. Such a
      limited detention does not become “unreasonable merely because the
      officer has intuitive suspicions that the occupants of the car are engaged
      in some sort of criminal activity.” Cummings, 920 F.2d at 499–501
      (noting that the officer testified he probably would not have stopped the
      car if the defendant and his passenger had not continued glancing at
      him and behaving suspiciously).

Id. at 730.

      Finally, as stated by the Supreme Court in Whren v. United States, 517 U.S.

806, 809–10 (1996);

      The Fourth Amendment guarantees the right of the people to be secure
      in their persons, houses, papers, and effects, against unreasonable
      searches and seizures. Temporary detention of individuals during the
      stop of an automobile by the police, even if only for a brief period and
      for a limited purpose, constitutes a “seizure” of “persons” within the
      meaning of this provision. An automobile stop is thus subject to the
      constitutional imperative that it not be “unreasonable” under the
      circumstances. As a general matter, the decision to stop an automobile
      is reasonable where the police have probable cause to believe that a
      traffic violation has occurred.

Whren, 517 U.S. at 809–10 (internal citations and quotations omitted).
           B.     Analysis




                                          15
  Case 1:17-cr-00046-MR-WCM         Document 113      Filed 12/11/17   Page 15 of 20
      The facts of this case show that Trooper Holcombe’s initial decision to stop

the black Toyota Camry vehicle was justified. The stop was reasonable and in

accordance with law. Trooper Holcombe testified he saw the Toyota Camry vehicle

being operated off of the roadway of U.S. Highway 74 onto the shoulder. He further

testified that he saw the vehicle being operated too closely behind a white pickup

truck which was traveling in front of the black Toyota Camry vehicle.

      Trooper Holcombe issued Defendant a warning ticket for unsafe movement.

(T. pp. 45–46) (Gov. Ex. 31) It is a traffic violation in North Carolina to turn from

a direct line if the movement cannot be made in safety. North Carolina General

Statute § 20-154 provides as follows:

      The driver of any vehicle upon a highway or public vehicular area
      before starting, stopping or turning from a direct line shall first see that
      such movement can be made in safety, and if any pedestrian may be
      affected by such movement shall give a clearly audible signal by
      sounding the horn, and whenever the operation of any other vehicle
      may be affected by such movement, shall give a signal as required in
      this section, plainly visible to the driver of such other vehicle, of the
      intention to make such movement. The driver of a vehicle shall not
      back the same unless such movement can be made in safety and without
      interfering with other traffic.

      Trooper Holcombe testified he saw the black Toyota Camry vehicle follow a

white pickup truck too closely. (T. pp. 24–25, 57, 72–76) It is a traffic violation in

North Carolina to follow another vehicle too closely. North Carolina General Statute

§ 20-152 provides as follows:




                                          16
  Case 1:17-cr-00046-MR-WCM         Document 113      Filed 12/11/17   Page 16 of 20
             (a) The driver of a motor vehicle shall not follow another
      vehicle more closely than is reasonable and prudent, having due regard
      for the speed of such vehicles and the traffic upon and the condition of
      the highway.

            (b) The driver of any motor vehicle traveling upon a highway
      outside of a business or residential district and following another motor
      vehicle shall, whenever conditions permit, leave sufficient space so that
      an overtaking vehicle may enter and occupy such space without danger,
      except that this shall not prevent a motor vehicle from overtaking and
      passing another motor vehicle. This provision shall not apply to funeral
      processions.

      While Trooper Holcombe admitted that neither of the violations he saw can

be seen on the video (Gov. Ex. 1), he testified that he did in fact see them occur. (T.

pp. 55–57, 75–76) The Court has reviewed the video on multiple occasions, both in

court and privately. The video is poor quality. The video is grainy to the point that

one cannot read large road signs that are on the border of the highway. In one

instance, it does appear that the black Toyota Camry vehicle might have been

operated to the right of the fog line and in another instance it does appear that perhaps

the black Toyota Camry vehicle was operated one to two car lengths behind the

white pickup truck.

      A repeated review of the photographs (Gov. Ex. 2-30) by the Court neither

supports nor confirms Trooper Holcombe’s testimony. It is difficult to discern what,

if anything, is shown in the photographs. Essentially, the photographs show lights

in the dark. In any event, neither the video nor the photographs provide great support




                                           17
  Case 1:17-cr-00046-MR-WCM         Document 113      Filed 12/11/17    Page 17 of 20
for Trooper Holcombe’s testimony. On the other hand, they do not disprove his

testimony.

        Trooper Holcombe’s testimony is supported by his experience and training.

Further support for his testimony is found on the video’s sound recording. (Gov. Ex.

1) When Trooper Holcombe calls on his radio to report he is stopping the Toyota

Camry vehicle, he tells the dispatchers or communications officer that he is stopping

the vehicle for unsafe movement and following too closely. (Gov. Ex. 1)

Additionally, on the video Trooper Holcombe clearly tells Defendant the reasons he

stopped Defendant was for unsafe movement and following too closely. (Gov. Ex.

1)     Giving further support, Trooper Holcombe issued of a warning ticket to

Defendant for unsafe movement and following too closely. (T. pp. 44–45) (Gov. Ex.

3) Finally, the Court finds no reason to question Trooper Holcombe’s testimony as

not being credible.

        From the evidence presented the undersigned finds Trooper Holcombe

credible. Trooper Holcombe’s observation of two violations of North Carolina

traffic law that resulted in stopping the black Toyota Camry vehicle did not violate

the Fourth Amendment. Trooper Holcombe’s observation and sworn testimony

provides sufficient and lawful basis for the traffic stop under North Carolina law.

The only issue for the Court to resolve was if the stop of the black Toyota Camry

vehicle on September 13, 2016, was in violation of the Fourth Amendment. The



                                         18
     Case 1:17-cr-00046-MR-WCM    Document 113      Filed 12/11/17   Page 18 of 20
Court finds the stop did not violate the Fourth Amendment and the stop satisfies the

criteria of Digiovanni and Hassan-el. The undersigned will thus recommend the

Motion of Defendant to suppress (# 37) be denied.

                             RECOMMENDATION

      IT IS THEREFORE RESPECTFULLY RECOMMENDED that

      Defendant’s Motion to Suppress (# 37) be DENIED.

                                      Signed: December 11, 2017




                               Time For Objections


            The parties are hereby advised that, pursuant to 289, United

      States Code, Section 636(b)(1)(c), and Rule 72, Federal Rules of Civil

      Procedure, written objections to the findings of fact, conclusions of law,

      and recommendation contained herein must be filed within fourteen

      (14) days of service of same. Responses to the objections must be filed

      within fourteen (14) days of service of the objections. Failure to file

      objections to this Memorandum and Recommendation with the District

      Court will preclude the parties from raising such objections on appeal.



                                          19
  Case 1:17-cr-00046-MR-WCM        Document 113        Filed 12/11/17   Page 19 of 20
   Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied, 474 U.S. 1111

   (1986); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert.

   denied, 467 U.S. 1208 (1984).




                                    20
Case 1:17-cr-00046-MR-WCM     Document 113    Filed 12/11/17   Page 20 of 20
